Case 5:22-bk-01239-MJC   Doc 8 Filed 07/06/22 Entered 07/06/22 11:52:22   Desc
                         Main Document    Page 1 of 9
Case 5:22-bk-01239-MJC   Doc 8 Filed 07/06/22 Entered 07/06/22 11:52:22   Desc
                         Main Document    Page 2 of 9
Case 5:22-bk-01239-MJC   Doc 8 Filed 07/06/22 Entered 07/06/22 11:52:22   Desc
                         Main Document    Page 3 of 9
Case 5:22-bk-01239-MJC   Doc 8 Filed 07/06/22 Entered 07/06/22 11:52:22   Desc
                         Main Document    Page 4 of 9
Case 5:22-bk-01239-MJC   Doc 8 Filed 07/06/22 Entered 07/06/22 11:52:22   Desc
                         Main Document    Page 5 of 9
Case 5:22-bk-01239-MJC   Doc 8 Filed 07/06/22 Entered 07/06/22 11:52:22   Desc
                         Main Document    Page 6 of 9
Case 5:22-bk-01239-MJC   Doc 8 Filed 07/06/22 Entered 07/06/22 11:52:22   Desc
                         Main Document    Page 7 of 9
Case 5:22-bk-01239-MJC   Doc 8 Filed 07/06/22 Entered 07/06/22 11:52:22   Desc
                         Main Document    Page 8 of 9
Case 5:22-bk-01239-MJC   Doc 8 Filed 07/06/22 Entered 07/06/22 11:52:22   Desc
                         Main Document    Page 9 of 9
